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                          UNITED STATES DISTRICT CO
                        SOUTHERN DISTRICT OF CALIF


UNITED STATES OF AMERICA,

                         Plaintiff,
                  vs.                        JUDGMENT OF DISMISSAL
REBECCA RENEE CALDERA,

                        Defendant.


            IT APPEARING that t          fendant is now entit         to be discharged
for       reason that:

      an indictment has been fi    in another case a inst the defendant
      t   Court has granted     motion of the Government for dismissal of
      this case, without prejudice; or

      t    Court has dismissed t        case for unnecessa       delay; or

x          Court has granted          motion of the Government for dismissal; or

           Court has granted          motion of the de             for a judgment of
           ittal; or

      a jury has been waived, and the Court has found the defendant not
      guilty; or

      t    jury has returned its verdict, finding                fendant not guilty;

      of the offense(s) as        rged in the Information:

      8: 1324   (a) (1) (A) (iii) and (v) (II) - Harboring Illegal Aliens and

      Aiding and Abetting

            IT IS THEREFORE ADJUDGED that the defendant is hereby discharged.



DATED: 10/5/11
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                                             WILLIAM McCURINE, J .
                                             UNITED STATES MAGISTRATE JUDGE
